    Case 15-14779          Doc 19      Filed 07/16/15 Entered 07/18/15 23:33:41                    Desc Imaged
                                      Certificate of Notice Page 1 of 2
Form definmgt

                                    UNITED STATES BANKRUPTCY COURT
                                          Northern District of Illinois
                                               Eastern Division
                                               219 S Dearborn
                                                  7th Floor
                                              Chicago, IL 60604



In Re:
Alan Tabor                                                   Case No. : 15−14779
6547 S Oakley Ave                                            Chapter : 7
Chicago, IL 60636                                            Judge :    Timothy A. Barnes
SSN: xxx−xx−3816 EIN: N.A.
dba Tabor' Complete Comfort Mechanical Inc




                NOTICE TO INDIVIDUAL DEBTORS IN CHAPTER 7 OR CHAPTER 11 CASES
                            OF REQUIRED DOCUMENT FOR DISCHARGE

      Unless an approved Personal Financial Management Course Provider has notified the Court that you have
completed the course, you must complete and file Debtor's Certification of Completion of Instructional Course
Concerning Personal Financial Management (Official Form 23) pursuant to Bankruptcy Rule 1007(b)(7). Please
include the certificate number on Official Form 23 or attach the certificate you received from the approved Personal
Financial Management Course Provider.
    A list of "Approved Debtor Education Providers" is available at the U.S. Trustee's website at
www.justice.gov/ust/eo/bapcpa/ccde/index.htm.

      Official Form 23 is available at our website at www.ilnb.uscourts.gov/Forms/

      You must file Official Form 23 within 60 days after the first date set for the meeting of creditors under § 341. If
you do not file Official Form 23, your case will be closed without a discharge. You will still be liable for the debts
you owed before filing. If you subsequently file a Motion to Reopen, you must pay the reopening fee.

      If you are represented by an attorney, please contact your attorney for guidance.

      If you have any questions about submitting the form, please call 312−408−5000.



                                                            FOR THE COURT




Dated: July 16, 2015                                        Jeffrey P. Allsteadt, Clerk
                                                            United States Bankruptcy Court
          Case 15-14779            Doc 19       Filed 07/16/15 Entered 07/18/15 23:33:41                         Desc Imaged
                                               Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 15-14779-TAB
Alan Tabor                                                                                                 Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: admin                        Page 1 of 1                          Date Rcvd: Jul 16, 2015
                                      Form ID: definmgt                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 18, 2015.
db             +Alan Tabor,   6547 S Oakley Ave,   Chicago, IL 60636-2423

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 18, 2015                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities         were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 16, 2015 at the         address(es) listed below:
              Brian Audette            baudette@perkinscoie.com, IL32@ecfcbis.com
              Brian Audette            on behalf of Trustee Brian Audette baudette@perkinscoie.com, IL32@ecfcbis.com
              Patrick S Layng           USTPRegion11.ES.ECF@usdoj.gov
                                                                                                    TOTAL: 3
